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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION                                              :




MICHAEL C. DEMARQUIS,
                                                          Case No. I :20-cv-00634-LY
     Plaintiff,

V.



ALORICA INC.,

     Defendant.


                                                          ORDER


         This cause coming before the Court on Plaintiffs Motion to Extend Time to File Response to

Defendant's Rule 12(b)(6) Motion to Dismiss the Court being fully advised of the premises and

having jurisdiction of the subject matter, IT IS HEREBY ORDERED:


         1.   Plaintiffs response is due on or before August 23, 2021.


Dated:

                                                            tatesDjtJudg




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